                            IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION
                                   Case No: 5:19-CV-00577-FL


 JEFFREY GREENWELL, on behalf of himself
 and all others similarly situated,

                         Plaintiffs,

        v.
                                                           ORDER GRANTING MOTION FOR
 GROUP HEALTH PLAN FOR EMPLOYEES                            LEAVE TO FILE UNDER SEAL
 OF SENSUS USA, INC., BLUE CROSS BLUE
 SHIELD OF NORTH CAROLINA,

                         Defendants.

       This matter is before the Court on Defendant Blue Cross Blue Shield of North Carolina’s

(“BCBSNC”) Motion to Seal the Administrative Record in this case, filed as an attachment to BCBSNC’s

Memorandum in Support of Motion for Judgment on the Administrative Record.

       It appears to the Court that:

               1.       Good cause exists for the granting of this Motion;

               2.       BCBSNC has demonstrated the necessity and propriety of sealing the exhibit at

       issue, which is not a public record under North Carolina law;

               3.       The request to seal these documents overcomes any common law or First

       Amendment presumption to access;

               4.       The nature and specific qualities of the materials to be sealed justify that they be

       sealed, taking into account the competing interest in access; and

               5.       Any alternatives to sealing are not adequate.

IT IS NOW THEREFORE ORDERED, that Defendant BCBSNC’s Motion to seal is GRANTED.

       This the 22nd         September
                ____ day of _____________, 2021.

                                                 _______________________________
                                                 United States District Judge




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